           Case 3:20-cv-06469-EMC Document 141-1 Filed 03/17/22 Page 1 of 2



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 8                                                  listed below signature line)

 9
                                    UNITED STATES DISTRICT COURT
10
                                 NORTHERN DISTRICT OF CALIFORNIA
11

12
     DALI WIRELESS, INC.,                          Case No: 3:20-cv-06469-EMC
13                    Plaintiff,
          v.                                       [PROPOSED] ORDER EXTENDING
14                                                 DEADLINE TO MOVE TO COMPEL
     CORNING OPTICAL COMMUNICATIONS                FACT DISCOVERY
15   LLC,
16                  Defendant.

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                                                                         Case No 3:20-cv-06469-EMC.
            Case 3:20-cv-06469-EMC Document 141-1 Filed 03/17/22 Page 2 of 2



 1                                            [PROPOSED] ORDER
 2          This matter came before the Court on the parties’ Joint Notice of Motion and Motion to Further
 3   Extend the Motion to Compel Fact Discovery Deadline (“Joint Motion”) pursuant to Civ. L.R. 7-11 and
 4   Civil L.R. 16-2(d).
 5          Having considered the Joint Motion and supporting documents, this Court:
 6          FINDS good cause exists to move the deadline to compel fact discovery to April 22, 2022.
 7          GRANTS the Joint Motion; and
 8          HEREBY ORDERS the Deadline to Move to Compel Fact Discovery to April 22, 2022.
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10          IT IS SO ORDERED.
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            Date: _______________               _______________________________________
14
                                                The Honorable Edward M. Chen
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